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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

UMG Recordings, Inc., et al.            §
vs.                                     §
                                        §     NO: AU:17-CV-00365-DAE
Grande Communications Networks          §
LLC, et al.                             §


                             ADVISORY TO THE COURT

The undersigned party in the above-captioned cause elects as follows (please only select
one of the following options):

 X      I consent to proceed before a United States Magistrate Judge in accordance
      with the provisions of 28 U.S.C. § 636, for the sole purpose of conducting the
      jury selection.

     I do not consent to proceed before a United States Magistrate Judge for the
      sole purpose of conducting jury selection.


Party or Party Represented        Signature of Party/ Attorney            Date

_____Plaintiffs______________ _____/s/ Robert B. Gilmore________          __May 24, 2019___

_____Defendant_____________ _____/s/ Richard L. Brophy________             _ May 24, 2019___
                                                                           _______

__________________________ ______________________________                 ____________
